

People v Jordan (2023 NY Slip Op 05204)





People v Jordan


2023 NY Slip Op 05204


Decided on October 12, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 12, 2023

Before: Webber, J.P., Kern, Singh, Scarpulla, Rosado, JJ. 


Ind No. 1723/17 Appeal No. 765 Case No. 2018-2283 

[*1]The People of the State of New York, Respondent,
vMarie Jordan, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Laura Boyd of counsel), for appellant.



Judgment, Supreme Court, Bronx County (George P. Villegas, J.), rendered November 2, 2017, convicting defendant, upon her plea of guilty, of attempted assault in the second degree, and sentencing her to a term of three years of probation, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and crime victim assistance fee imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fee imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 12, 2023








